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       Benjamin Key and J.D. Huff

                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 DAVID M. GRANT,                             )   Case No. 1:18-cv-00411-CWD
                                             )
                Plaintiff,                   )   DEFENDANTS CITY OF FRUITLAND,
 vs.                                         )   FRUITLAND CITY POLICE, BENJAMIN
                                             )   KEY AND J.D. HUFF’S ANSWER TO
 BENJAMIN KEY, in his official and           )   COMPLAINT AND DEMAND FOR JURY
 individual capacities, CITY OF              )   TRIAL
 FRUITLAND, a political subdivision of       )
 the State of Idaho, FRUITLAND CITY          )
 POLICE DEPARTMENT, a department )
 of the City of Fruitland, J.D. HUFF, in his )
 individual and official capacity, CITY OF )
 PAYETTE, a political subdivision of the )
 State of Idaho, PAYETTE POLICE              )
 DEPARTMENT, a department of the             )
 City of Payette, BEN BRANHAM, in his )
 individual and official capacity, DUANE )
 HIGLEY, in his individual and official      )
 capacity, MARK CLARK, in his                )
 individual and official capacity, JOHN or )
 JANE DOES #1-10, whose true identities )
 are presently unknown, and other            )
 Employees of the City of Fruitland, the     )
 City of Payette, or Payette County,         )
                                             )
                Defendants.                  )
 _________________________________ )


DEFENDANTS CITY OF FRUITLAND, FRUITLAND CITY POLICE, BENJAMIN KEY AND J.D. HUFF’S
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        COME NOW Defendants City of Fruitland, Fruitland City Police, Benjamin Key and J.D.

Huff, by and through their counsel Moore Elia Kraft & Hall, LLP, and in answer to Plaintiff’s

Complaint and Demand for Jury Trial filed September 24, 2018, admit, deny and allege as follows:

                                         FIRST DEFENSE

        1.      Plaintiff’s Complaint fails to state a claim against these answering Defendants upon

which relief can be granted.

                                           SECOND DEFENSE

        2.      These answering Defendants deny each and every allegation of Plaintiff’s

Complaint not herein expressly and specifically admitted.

        3.      That the matters contained in paragraph 1 of Plaintiff’s Complaint are for the Court

to determine and no response is required by these Defendants.

        4.      With regard to the allegations contained in paragraph 2, these Defendants admit

this Court has subject matter jurisdiction.

        5.      With regard to the allegations contained in paragraph 3, these Defendants admit to

personal jurisdiction and venue.

        6.      With regard to the allegations contained in paragraphs 4, 5, 6, 7, 8, 9, 10, 11, 12 and

13 of the Plaintiff’s Complaint, these Defendants admit the named Defendants hold the identified

positions and that the municipalities are municipal entities within the stats of Idaho. These

answering Defendants deny that he named Defendants acted in a way to be held liable in either

their personal or official capacities.

        7.      These Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraphs 14 and 15 of Plaintiff’s Complaint, and

therefore deny them at this time.



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       8.      These Defendants admit the allegations contained in paragraphs 16 and 17 of

Plaintiff’s Complaint.

       9.      With regard to the allegations contained in paragraph 18 of the Plaintiff’s

Complaint, these Defendants admit only that after his vehicle was spiked and at least one tire was

deflated, Grant did not stop. Grant continued to be pursued by Branham and Higley with lights

and siren. These Defendants deny the remaining allegations of paragraph 18.

       10.     With regard to the allegations contained in paragraph 19 of the Plaintiff’s

Complaint, these Defendants admit only that after Grant stuck the spike strip Key removed the

strip from the street and got into his patrol car and joined the pursuit. These Defendants further

admit that approximately 1.5 miles further south on Highway-95, Key overtook the vehicle driven

by Branham and became “primary” in the pursuant of Grant. These Defendants lack knowledge

or information sufficient to form a belief as to the truth of the remaining allegations of paragraph

19, and therefor deny them at this time.

       11.     With regard to the allegations contained in paragraph 20 of the Plaintiff’s

Complaint, these Defendants admit the video depicts the events that transpired, and further admit

that the video continues to show Plaintiff failing to stop at the direction of uniformed police

officers, displaying audible and visual signals as required by Idaho Code Section 49-1404.

       12.     With regard to the allegations contained in paragraph 21 of the Plaintiff’s

Complaint, these Defendants lack sufficient knowledge of Plaintiff’s mental process to admit or

deny why he started to turn onto the westbound freeway off ramp when based upon the Plaintiff’s

Complaint, he was seeking to head eastbound on Interstate 84. These Defendants admit that as a

result of Plaintiff attempting to turn on the wrong ramp, he became a potential hazard for other

motorists.



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        13.     With regard to the allegations contained in paragraphs 22, 23, 24 and 25 of the

Plaintiff’s Complaint, these Defendants admit that Plaintiff failed to comply with the lawful orders

or directions of uniformed peace officers and continued to elude and evade officers. These

Defendants further admit that Officer Branham and Officer Higley remained as support officers

while Officer Key attempted to engage Plaintiff.

        14.     With regard to the allegations contained in paragraph 26 and 27 of the Plaintiff’s

Complaint, these Defendants admit that Plaintiff continued to fail to comply with the lawful orders

or directions of uniformed peace officers and continued to operate his motor vehicle in an effort to

elude and evade uniformed law enforcement in violation of Idaho law. Plaintiff appeared to

ignore orders, disregard commands and continue to operate his motor vehicle in a manner which

put the safety of the officers, as well as the public, in danger.

        15.     With regard to the allegations contained in paragraph 28 of the Plaintiff’s

Complaint, these Defendants admit only that Plaintiff was injured. These Defendants deny the

remaining allegations of paragraph 28.

        16.     These Defendants deny the allegations contained in paragraphs 29 and 30 of

Plaintiff’s Complaint.

        17.     With regard to the allegations contained in paragraphs 31, 32 and 33 of the

Plaintiff’s Complaint, these Defendants admit that Plaintiff has suffered physical injuries and may

suffer economic damages, but deny that these answering Defendants are liable to Plaintiff.

        18.     These Defendants deny the allegations contained in paragraphs 34 and 35 of

Plaintiff’s Complaint.

        19.     With regard to the allegations contained in paragraph 36 of the Plaintiff’s

Complaint, these Defendants admit that J.D. Huff was and is the Chief of Police for the City of



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Fruitland (“Chief Huff”) and is the policymaker for the police department.

        20.     With regard to the allegations contained in paragraph 37 of the Plaintiff’s

Complaint, these Defendants admit Chief Huff does have significant authority as to the hiring of

Fruitland City Police Officers, although technically final authority rests in the City Council. The

screening and training of potential Fruitland City police officers is pursuant to Idaho Police

Officers Standards and Training regulations, as well as Idaho law. These answering Defendants

admit that Chief Huff is responsible for the supervision of his police officers.

        21.     As to the allegations contained in paragraph 38, these Defendants reallege their

responses to paragraphs 1 through 37 and incorporate the same by reference as applicable and as if

fully set forth herein.

        22.     These Defendants deny the allegations contained in paragraph 39 of Plaintiff’s

Complaint.

        23.     That the matters contained in paragraph 40 of Plaintiff’s Complaint are for the

Court to determine and no response is required by these Defendants.

        24.     These Defendants deny the allegations contained in paragraphs 41, 42, 43, 44 and

45 of Plaintiff’s Complaint.

        25.     As to the allegations contained in paragraph 46, these Defendants reallege their

responses to paragraphs 1 through 45 and incorporate the same by reference as applicable and as if

fully set forth herein.

        26.     These Defendants deny the allegations contained in paragraph 47 of Plaintiff’s

Complaint.

        27.     That the matters contained in paragraph 48 of Plaintiff’s Complaint are for the

Court to determine and no response is required by these Defendants.



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        28.     These Defendants deny the allegations contained in paragraphs 49, 50, 51, 52 and

53 of Plaintiff’s Complaint.

        29.     As to the allegations contained in paragraph 54, these Defendants reallege their

responses to paragraphs 1 through 53 and incorporate the same by reference as applicable and as if

fully set forth herein.

        30.     These Defendants deny the allegations contained in paragraphs 55, 56, 57, 58, 59,

60 and 61 of Plaintiff’s Complaint.

                                   AFFIRMATIVE DEFENSES

        That at the time of filing this Answer, these Defendants have not been able to engage in

discovery and lack information sufficient to form a belief as to all of those affirmative defenses

that might apply in this instance. At this time, pursuant to Rule 12 of the Federal Rules of Civil

Procedure, these Defendants assert the following affirmative defenses so that the same are not

waived. If actual information is not developed sufficient to assert any specific defense, the

affirmative defense in question will be withdrawn.

        The foregoing defenses are applicable, or appropriate, to any and all of Plaintiff’s claims

for relief. In asserting these defenses, these Defendants do not admit that they have the burden of

proving the allegations or denials contained in the defenses, but, to the contrary, assert that by

reason of the denials and/or by reason of relevant statutory or judicial authority, the burden of

proving the facts relevant to many of the defenses and/or burden of proving the inverse to the

allegations contained in many defenses is upon the Plaintiff. These Defendants do not admit, in

asserting any defense, any responsibility or liability, but, to the contrary, specifically deny any and

all allegations of responsibility and liability set forth in Plaintiff’s Complaint.




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       These Defendants have considered and believe that they may have additional defenses to

Plaintiff’s Complaint, but cannot at this time, consistent with Rule 11 of the Federal Rules of Civil

Procedure, state with specificity those defenses. Accordingly, these Defendants reserve the right

to supplement their Answer and add additional affirmative defenses as discovery in this case

progresses.

                               FIRST AFFIRMATIVE DEFENSE

       Plaintiff is barred from recovery in whole or in part for failure to mitigate damages.

                             SECOND AFFIRMATIVE DEFENSE

       To the extent Plaintiff’s claims sound in equity, Plaintiff’s claims are barred by the doctrine

of unclean hands.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff has waived the right, and/or is estopped to assert the various claims and causes of

action alleged against these answering Defendants.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims against these answering Defendants herein fail to make out a case for

actual participation in unlawful conduct.

                               FIFTH AFFIRMATIVE DEFENSE

       The alleged actions of these Defendants, if any, do not rise to the level of a deprivation of a

constitutionally protected right.

                              SIXTH AFFIRMATIVE DEFENSE

       These answering Defendants allege they are not liable for an injury caused by the act or

omission of another person under a theory of respondeat superior.




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                                 SEVENTH AFFIRMATIVE DEFENSE

        Any and all actions alleged against these Defendants are protected by the doctrines of

qualified or absolute immunity.

                                 EIGHTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are invalid for failure to allege or prove damages which are the result of

an unconstitutional policy or custom.

                                  NINTH AFFIRMATIVE DEFENSE

        At no time did these answering Defendants act in concert or intentionally act to deprive the

Plaintiff of his civil rights.

                                  TENTH AFFIRMATIVE DEFENSE

        Any and all conduct of these Defendants with respect to matters alleged was justifiable,

reasonable, authorized by law and performed in good faith with a belief that such acts were proper,

legal and appropriate.

                             ELEVENTH AFFIRMATIVE DEFENSE

        Insofar as Plaintiff has made claims against these answering Defendants under 42 U.S.C.

§§ 1983, such claims are invalid to the extent that they are brought against their official capacity.

                                 TWELFTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint is barred by the failure to file a timely or sufficient tort claim, Idaho

Code § 6-906, et seq.

                            THIRTEENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred under the principles of Heck v. Humphrey.




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                          FOURTEENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims against Fruitland Police fail as the police department is not a separate

legal entity or person.

                            FIFTEENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are invalid for failure to allege or prove damages which are the result of

an unconstitutional policy or custom.

                           SIXTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s damages, if any, were proximately caused by the superseding, intervening

negligence, and admissions or actions of other third persons, and any negligence or breach of duty

on the part of these Defendants, if any, was not a proximate cause of the alleged loss to Plaintiff.

In asserting this defense, these Defendants do not admit any negligence or blameworthy conduct.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

        These Fruitland Defendants are immune from liability.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

        The damages and injuries sustained by Plaintiff, if any there were, were directly and

proximately caused by the acts and/or omissions of the Plaintiff.

                          NINETEENTH AFFIRMATIVE DEFENSE

        To the extent that any Fruitland Defendants may be separately considered a policymaker

for official capacity purposes, these answering Defendants are not liable since no governmental

policy, custom or practice led to the deprivation of a constitutional right.

                           TWENTIETH AFFIRMATIVE DEFENSE

        To the extent that punitive damages are claimed, punitive damages are not available

against a public official acting in an official capacity.



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                         TWENTY-FIRST AFFIRMATIVE DEFENSE

        To the extent that punitive damages are claimed, punitive damages are not available

against a public official in his individual capacity because the public official did not engage in

conduct exhibiting an actual malicious intent or with reckless, serious indifference to, or disregard

for the rights of others. Further no Defendant acted oppressively as defined in federal law.

                        TWENTY-SECOND AFFIRMATIVE DEFENSE

        No action or omission by any policymaker based upon the information known to him or her

constituted improper ratification that resulted in the deprivation of a constitutional right.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

        No supervisor, policymaker or governmental entity was deliberately indifferent to the

rights of persons regarding the hiring or training of employees that resulted in the deprivation of a

constitutional right.

                        TWENTY-FOURTH AFFIRMATIVE DEFENSE

        No supervisor, policymaker or governmental entity was deliberately indifferent to the

rights of persons regarding the supervision, direction or control or discipline of employees that

resulted in the deprivation of a constitutional right.

        WHEREFORE, these answering Defendants pray that Plaintiff’s Complaint be dismissed

with prejudice, that Plaintiff takes nothing by this action, that Judgment be entered in favor of

these Defendants and against Plaintiff, and that these Defendants are awarded their costs of suit

and attorney fees, and such other and further relief as the Court deems just.




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                                DEMAND FOR JURY TRIAL

       These answering Defendants demand a trial by jury on Plaintiff’s Complaint, on all issues,

claims and defenses so triable, pursuant to the Constitution and laws of the United States and the

State of Idaho.

       DATED this 11th day of December, 2018.

                                      MOORE ELIA KRAFT & HALL, LLP


                                      By:/s/ Michael J. Elia______________
                                        Michael J. Elia, of the firm
                                        Attorneys for Defendants City of Fruitland, Fruitland
                                       City Police, Benjamin Key and J.D. Huff




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 11th day of December, 2018, I caused to be served a true
and correct copy of the foregoing document, by the method indicated below, and addressed to the
following:

 Jason R.N. Monteleone                       __x__ ECF service
 Johnson & Monteleone, L.L.P.
 350 N. 9th St., Ste. 500
 Boise, Idaho 83702
 Attorneys for Plaintiff

 Michael W. Kane
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 Attorneys for Defendant Payette City
 Defendants
                                             /s/ Michael J. Elia ___________
                                             Michael J. Elia




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